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            10       WHATSAPP INC. and FACEBOOK, INC.

            11
                                                      UNITED STATES DISTRICT COURT
            12
                                                  NORTHERN DISTRICT OF CALIFORNIA
            13
            14
                     WHATSAPP INC., a Delaware corporation,                   Case No. 4:19-cv-07123-PJH
            15       and FACEBOOK, INC., a Delaware
                     corporation,                                             [PROPOSED] LIMITED PROTECTIVE
            16                                                                ORDER

            17                          Plaintiffs,                           Judge:    Hon. Phyllis J. Hamilton

            18              v.

            19       NSO GROUP TECHNOLOGIES LIMITED
                     and Q CYBER TECHNOLOGIES LIMITED,
            20
                                        Defendants.
            21

            22

            23              Plaintiff WhatsApp Inc. (“WhatsApp”) has moved to disqualify Defendants’ counsel King &

            24       Spalding LLP on the ground that King & Spalding previously represented WhatsApp in substantially

            25       related proceedings before another court, which remain entirely under seal (the “Sealed Proceedings”).

            26       WhatsApp and its agents as well as King & Spalding are prohibited from disclosing any information

            27       related to that litigation (the “Protected Material”).

            28
  COOLEY LLP
ATTO RNEY S AT LAW                                                      1               [PROPOSED] LIMITED PROTECTIVE ORDER
 SAN FRA NCI S CO                                                                                 CASE NO. 4:19-CV-07123-PJH
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              1             Accordingly, the Court finds that a limited protective order is necessary to allow the parties to

              2      address the disqualification issue without potentially disclosing information under seal in the Sealed

              3      Proceedings. The Court therefore orders that:

              4             1.      Defendants’ counsel may not disclose Protected Material to:

              5                     a.      Defendants NSO Group Technologies Ltd., or Q Cyber Technologies Ltd.;

              6                     b.      Defendants’ officers, directors, agents, or employees (including in-house

              7                             counsel); or

              8                     c.      any other person or entity not entitled to access Protected Material under court

              9                             order in the Sealed Proceedings.

            10              2.      “Protected Material” includes:

            11                      a.      any information copied or extracted from Protected Material;

            12                      b.      all copies, excerpts, summaries, or compilations of Protected Material; and

            13                      c.      any testimony, conversations, or presentations by parties or their counsel that

            14                              might reveal Protected Material.

            15              3.      Any document containing Protected Material may be filed with the Court only if it is

            16       filed under seal in accordance with Civil Local Rule 79-5.

            17              4.      Even after final disposition of this litigation, the confidentiality obligations imposed by

            18       this Order shall remain in effect until a court order otherwise directs.

            19

            20       IT IS SO ORDERED.

            21

            22       Dated: April ___, 2020
                                                                    Honorable Phyllis J. Hamilton
            23                                                      United States District Court Judge

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  COOLEY LLP
ATTO RNEY S AT LAW                                                     -2-                      [PROPOSED] PROTECTIVE ORDER
 SAN FRA NCI S CO
                                                                                                   CASE NO. 4:19-CV-07123-PJH
